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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

JANE DOE,

            Plaintiff,                             Case No. 23-11400
                                                   Hon. Sean F. Cox
v

SIENA HEIGHTS UNIVERSITY,

            Defendant.

ROUMEL LAW                               STARR, BUTLER, ALEXOPOULOS & STONER, PLLC
Nicholas Roumel (P37056)                 Kay Rivest Butler (P41651)
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                  STIPULATED ORDER REGARDING ADR

      The Court is advised that the parties stipulate to engage in voluntary

facilitation with mediator Kathleen Bogas. They are actively seeking a mutually

agreeable date within 45 days of the discovery cutoff date (July 31, 2024).

      The Court approves the stipulation of the parties, and it is SO ORDERED.

Dated: July 16, 2024                         s/Sean F. Cox
                                             Sean F. Cox
                                             U. S. District Judge

So Stipulated:

/s/ Nicholas Roumel                   /s/ Kay Rivest Butler w/permission NR
                                      ___________________________
Nicholas Roumel (P37056)              Kay Rivest Butler (P41651)
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Attorney for Plaintiff            Attorney for Defendants
